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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


  PERSONALIZED MEDIA                                  §
  COMMUNICATIONS LLC,                                 §
                                                      §
                   Plaintiff,                         §
                                                      §   CASE NO. 2:15-CV-1366-JRG-RSP
  v.                                                  §
                                                      §
  APPLE, INC.,                                        §
                                                      §
                   Defendant.


                                                 ORDER

            The Court enters this Order sua sponte. The Court’s March trial schedule shall proceed as

   follows:

           Jury selection in Case No. 2:15-cv-1528-JRG, Whirlpool Corp. v. TST Water, LLC, is set
            for March 6, 2017, at 9:00 a.m.

           Jury selection in Case No. 2:15-cv-349-JRG, St. Lawrence Communications LLC v. ZTE
    .       Corp., and remaining consolidated cases is reset for March 13, 2017, at 9:00 a.m.

        In the event either Whirlpool or St. Lawrence do not proceed to trial, then the following cases

   will fill that vacancy and proceed to trial in the following order:

           Case No. 2:15-cv-1524-JRG-RSP, 511 Innovations, Inc. v. HTC America, Inc. and
            remaining consolidated cases.

           Case No. 2:15-cv-1366-JRG-RSP, Personalized Media Communications, LLC v. Apple,
            Inc.

         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 13th day of February, 2017.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
